Case 3:06-cr-30053-RGJ-KLH            Document 66        Filed 06/07/07      Page 1 of 2 PageID #:
                                             179



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 UNITED STATES OF AMERICA                          *     CRIMINAL NO. 06-30053-05


 VERSUS                                            *     JUDGE JAMES


 DONALD BARNETT                                    *     MAGISTRATE JUDGE HAYES


                  REPORT AND RECOMMENDATION ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a change of plea hearing

and allocution of the defendant, Donald Barnett, on June 7, 2007. Defendant was present with his

counsel, Mr. Charles Kincade.

       After said hearing, and for reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his guilty plea

to Count 13 of the indictment is fully supported by an oral factual basis for each of the essential

elements of the offense.1 Therefore the undersigned U. S. Magistrate Judge recommends that the

District Court ACCEPT the guilty plea of the defendant, Donald Barnett, in accordance with the

terms of the plea agreement filed in the record of these proceedings, and that Donald Barnett be

finally adjudged guilty of the offense charged in Count 13 of the Indictment.

       1
        The court advised defendant of the minimum and maximum penalties associated with
Count 13.
Case 3:06-cr-30053-RGJ-KLH            Document 66         Filed 06/07/07       Page 2 of 2 PageID #:
                                             180



        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties have

ten (10) business days from service of this Report and Recommendation to file specific, written

objections with the Clerk of Court. A party may respond to another party’s objections within ten

(10) business days after being served with a copy thereof. A courtesy copy of any objection or

response or request for extension of time shall be furnished to the District Judge at the time of filing.

Timely objections will be considered by the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 7th day of June, 2007.




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